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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY

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     (Admitted pro hac vice)
     ATTORNEYS FOR DEBTOR
     In re:                                                          Chapter 11
                                         1
     LTL MANAGEMENT LLC,                                             Case No.: 21-30589
                                 Debtor.                             Judge: Michael B. Kaplan

                                                                     Hearing Date and Time:
                                                                     January 19, 2022 at 10:00 a.m.

                    DEBTOR’S REPLY IN SUPPORT OF MOTION FOR AN
                ORDER DETERMINING THAT THE UNITED STATES TRUSTEE’S
              NOTICE OF “RECONSTITUTED AND AMENDED” TALC CLAIMANTS
               COMMITTEE IS INVALID AND REINSTATING THAT COMMITTEE




 1
              The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
              501 George Street, New Brunswick, New Jersey 08933.



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                  The above-captioned debtor (the “Debtor”) files this reply (the “Reply”) in

 support of the Debtor’s motion [Dkt. 1047] (the “Motion”) 2 and in response to the objections

 filed by:

                  (a)      the purported Official Committee of Talc Claimants I (“Talc I”)

 [Dkt. 1159] (the “Talc I Objection”);

                  (b)      the purported Official Committee of Talc Claimants II (“Talc II”, and

 together with Talc I, the “Committees”) [Dkt. 1158] (the “Talc II Objection”); and

                  (c)      the Office of the United States Trustee (the “UST”) [Dkt. 1161] (the “UST

 Obj.” and collectively with the Talc I Objection and the Talc II Objection, the “Objections”). 3

                                      PRELIMINARY STATEMENT

                  1.       The Objections represent yet another effort by the claimants and the UST

 to wrest decisions away from this Court. The TCC tried it with its motion [Adv. Dkt. 110]

 seeking withdrawal of the reference of the adversary proceeding (Adv. Pro. No. 21-03032

 (MBK)) that is central to this Chapter 11 Case. District Judge Wolfson denied that motion.

 Order, Case No. 21-20252 (FLW) [Dkt. 32] (D.N.J. Jan. 11. 2022). The UST tried it with his

 motion [Dkt. 843] seeking the appointment of an examiner for the purpose, among other things,

 of forming various legal conclusions, for instance with respect to the 2021 Corporate

 Restructuring, rather than leaving the consideration of such matters to the Court. That motion

 was withdrawn at the request of the Court. The Committees and the UST now try it again by

 together proclaiming that the Court lacks the power to even consider the relief the Debtor seeks



 2
         Capitalized terms used herein but not otherwise defined have the meanings given to them in the Motion.
 3
         Talc I, Talc II, and the U.S. Trustee are collectively referred to herein as the “Objectors.” Motley Rice LLC
         also filed a response to the Motion on behalf of Talc II member Shirleeta Ellison [Dkt. No. 1164]. The
         response joins the substantive arguments raised in the Talc I and Talc II Objections and requests that
         Motley Rice’s client continue serving as a member of either the Talc II or the TCC.


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 in the Motion. To the contrary, the Court unquestionably has the power to grant the requested

 relief.

                    2.       The Court indisputably has the authority to uphold orders entered in this

 case and should do so here in the face of the UST’s effort to unilaterally rescind it.

                    3.       As clarified last week on the record, the UST is not relying on the validity

 of his rationale for issuing the Notice as a basis for his purported authority to do so.

 Accordingly, the narrow question presented here is whether the UST can, sua sponte, ignore and

 purport to vacate a valid court order, entered after notice, an opportunity to object, and a hearing,

 without notice of his action, without analysis or justification of his action, and without any

 transparency whatsoever with respect to his action. The answer is no. A UST cannot simply

 purport to countermand a court order. This Court should respect and enforce Judge Whitley’s

 order as entered—just like it has enforced or would enforce every other court order coming out

 of the NC Bankruptcy Court.

                    4.       Simply put, the Notice is invalid, as the UST cannot disband a committee

 appointed by court order. Sharon Steel is directly on point, and the Objectors’ attempts to

 distinguish that case are wholly unavailing. As in Sharon Steel, the UST’s Notice here “would

 effectively review and modify the [court’s prior] order,” and, were the Notice allowed to stand,

 would “violate the constitutional principle that no administrative agency may usurp the

 adjudicatory function of the courts.” 100 B.R. 767, 775 (Bankr. W.D. Pa. 1989) (internal

 quotation marks omitted). 4 The Objectors’ attempt to distinguish Sharon Steel as being the




 4
           The Talc II Objection erroneously attempts to distinguish Sharon Steel, asserting that the court there
           “finally adjudicated” the issue of a second committee. Talc II Obj. ¶¶ 39-41. But the facts here are nearly
           identical. In both cases, the court held a committee appointment hearing at which the propriety of
           appointing an additional committee was discussed. See Motion at ¶¶ 10, 12; Sharon Steel at 770-71
           (stating that the “notion of a separate committee for debenture holders was advanced” at the hearing). In

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 minority view with respect to the Court’s review of the U.S. Trustee’s actions under section

 1102(a)(1) again misses the point—that is not the basis on which the Debtor relies on Sharon

 Steel. 5 See UST Obj. ¶ 33 & n.5; Talc II Obj. ¶ 41 & n.12.

                  5.       The Motion should be granted.

                                                  ARGUMENT

 I.      The TCC Order Is Valid and Enforceable, Notwithstanding the Transfer of Venue.

                  6.       The Court need only determine whether it should enforce the TCC

 Order. The UST argues that, following transfer of the case, “the entry of an ‘order’ appointing a

 committee in a Bankruptcy Administrator district” is not binding upon him. UST Obj. 4,

 ¶ 59. The UST provides no case law supporting this argument, and the UST’s citation to the

 1991 Advisory Committee Note to Bankruptcy Rule 9035 does nothing to help his case. See

 UST Obj. ¶ 59 n.11. 6 It is not (at least it should not be) controversial that this Court inherited the

 NC Bankruptcy Court’s docket as it existed upon transfer, inclusive of the TCC Order. In re

 Miller, 485 F.2d 74, 76 (5th Cir. 1973) (“[T]he orders issued prior to the transfer continued as

 though the case were still pending in the original district. The transfer for the convenience of the




         neither case did the court enter an order finding that it should not appoint a second committee upon a
         request for such a committee.
 5
         It is also incorrect to state that Sharon Steel was decided at a time when there was “no procedure or
         standard for a court to review the adequacy of a committee’s representation.” UST Obj. ¶ 34. Instead,
         section 1102(a)(2), which allows the court to appoint an additional committee upon a request of a party in
         interest in order to achieve “adequate representation,” existed at that time.
 6
         The 1991 Advisory Committee Note to Bankruptcy Rule 9035 simply points readers to section
         302(d)(3)(F) of the 1986 Bankruptcy Act for the statutory provisions governing procedures for cases
         pending in non-UST districts at the time those districts become UST districts, which has of course not
         happened. Neither the 1991 Advisory Committee Note nor the transition provisions of the 1986
         Bankruptcy Act apply to cases transferred from non-UST districts to UST districts. Even if these
         provisions did apply, they would not provide any support for the UST’s argument. Section 302(d)(3)(F)
         only provides that, in a transitional case, the 1986 Bankruptcy Act amendments to the UST provisions
         generally will not take effect until one year after the transition date.


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 parties simply brought the cause as it was to the transferee jurisdiction.”). 7 The TCC Order is

 valid and enforceable, and the UST cannot simply purport to overrule it.

 II.     Granting the Motion Is in the Best Interest of Parties in Interest.

                  7.       Because the relevant issue is whether the Court should grant the Motion,

 not whether it has the power to do so, the Court need not wade into extensive arguments made by

 the Objectors regarding the separation of responsibilities between the Court and the UST under

 section 1102, the legislative history of section 1102 through multiple changes to the statute,

 canons of statutory construction potentially applicable to section 1102, the case law for and

 against the power of the Court to disband a committee created by the UST, or the extent of

 section 105 of the Bankruptcy Code. 8

                  8.       If the Court decides that the UST’s Notice is invalid or that the number of

 committees and the membership of any committee should otherwise be reconsidered, the

 question for the Court should be: what is in the best interest of the parties in interest? On this

 question, the Court owes no deference to the UST. 9


 7
         See also Pac. Coast Marine Windshields v. Malibu Boats, 2011 WL 6046308, at *2 (E.D. Cal. Dec. 5,
         2011), report and recommendation adopted sub nom. Pac. Coast Marine Windshields v. Boats, 2012 WL
         12903557 (E.D. Cal. Jan. 4, 2012) (“When an action is transferred, that which has already been done
         remains untouched; only further proceedings in the case are referred to another tribunal.”); see also In re
         Judzewitsch, 2008 WL 817108, at *1 (Bankr. E.D. Tenn. Mar. 26, 2008) (“The general rule is that a change
         of venue does not alter an action procedurally, and it arrives in its transferee court unchanged and
         unimpeded.”); In re Dambrie, 153 B.R. 602, 603 (Bankr. D. Me. 1993) (“This Court does not consider the
         change of venue to be such an extraordinary circumstance to warrant this Court's use of its equitable
         powers to retroactively extend the bar date for this sophisticated creditor.”); 15 Charles Alan Wright, et. al.,
         Fed. Prac. & Proc. Juris. § 3846 (2021) (“When an action is transferred, it remains in the posture it was in
         and all further proceedings in the action merely are referred to and determined by the transferee tribunal.
         This leaves in place whatever already has been done in the transferor court.”).
 8
         The Court also need not wade into the question of the proper standard of review of the UST’s acts, i.e.
         either de novo review or review for abuse of discretion.
 9
         Notwithstanding, the Debtor stands by its position in the Motion that the Court has the power to disband a
         committee, even one originally created by the UST. Both the UST and Talc II argue that each of the cases
         cited by the Debtor in support of this position are inapplicable. UST Obj. ¶¶ 52-56; Talc II Obj. ¶ 34, n.9.
         This is simply not true. For instance, Continental Cast Stone did not hold that a court can only disband a
         committee if the UST placed members on the committee not eligible by statute. The court instead stated
         “[i]f the court is unable to disband a creditors’ committee once convened, the court is therefore unable to

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                  9.        Contrary to Talc I’s assertion, it is not too late to change things based on

 the fact the two committees have been operating for a mere three weeks. Talc I Obj. ¶ 5

 (“further modifications would result in unnecessary disruption to a process that has been working

 smoothly since” December 23, 2021). As Talc I concedes, the TCC was functioning quite well

 before the UST’s unilateral intervention. Id. at ¶ 2. And this is consistent with statements the

 TCC’s counsel made in Court: “And it's good to say, we've been working very well together as a

 committee in the past number of weeks since the Committee was formed”. Nov. 22, 2021 Hr’g

 Tr., 50:12-14. There should be no material disruption if the TCC is effectively put back together,

 particularly since all the TCC’s members and all the TCC’s counsel have remained involved in

 the case since the UST issued the notice.

                  10.       The Court should reinstate the TCC for all of the reasons stated in the

 Motion.

 III.    There is No Precedent for Separate Personal Injury Claimants Committees Based
         on Disease Type.

                  11.       No court or UST has ever appointed a separate committee based on

 disease category. 10 Now is not the time to start, especially given that mesothelioma claims



         rule on a creditor or debtor's argument that a creditor wholly ineligible under the Code has been appointed
         to the committee or that a committee is not viable in the specific case. 625 B.R. 203, 209. As another
         example, the court’s ruling in City of Detroit that it could disband the UST’s committee is not “dicta,” but
         instead an alternative ruling of the court. 519 B.R. 673, 679-82 Bankr. E.D. Mich. 2014). Continental Cast
         Stone remains the latest published pronouncement on this issue and reaffirms that the majority view is that
         the Court can disband a UST-appointed committee. 625 B.R. at 209.
 10
         Talc II tries to make it seem like what the UST seeks to do here—appointing an additional committee of
         tort personal injury claimants who allege exposure to the same products—is common. See Talc II Obj.
         ¶ 47 n.16. But, as set forth below, in all but two of the cases cited by Talc II in footnote 16, the U.S.
         Trustee appointed only one committee comprised exclusively of tort claimants, plus one or two other
         committees comprised primarily of non-tort unsecured creditors. In Armstrong World Indus and Celotex,
         separate tort committees of personal injury claims and property damage claims that are treated differently
         under the Code. For example, personal injury claimants have distinct rights under various statutes
         applicable in chapter 11, including 28 U.S.C. §§ 157 and 1411. See, e.g., § 157(b)(2)(B) (requiring the
         district court to liquidate or estimate personal injury claims for purposes of distribution; § 1411(a) (title 11
         does not “affect any right to trial by jury . . . with regard to a personal injury or wrongful death tort claim”).


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 represent only 1% of the current claimants and were already over-represented on the TCC. 11

 Sanctioning the appointment of two committees in this case would create a precedent for

 disproportionately empowering minority interests in mass tort cases, for unduly burdening

 debtors with the substantially higher costs of multiple committees and professionals, and for

 making more complicated and difficult a path forward to a consensus. Debtors with venue

 options would be disinclined to commence chapter 11 cases in this District.

                  12.      Committees are generally not comprised of a particular type of creditor. 12

 Rather, committees are designed to include a variety of creditor interests, and a separate



 11
         None of the cases cited by Talc II supports this. See In re Mallinckrodt plc, No. 20-12522 (Bankr. D. Del.
         2020) [Docket Nos. 306, 308] (official committee of unsecured creditors and opioid related claimants
         committee appointed); In re Boy Scouts of Am. and Delaware BSA, LLC, No. 20-10343 (Bankr. D. Del.
         2020) [Docket Nos. 141, 142] (committee of unsecured trade creditors and unsecured committee of tort
         claimants appointed); In re The Roman Catholic Church for the Archdiocese of New Orleans, No. 20-
         10846 (Bankr. E.D. La. 2020) [Docket Nos. 94, 772] (official committee of unsecured creditors and
         committee of commercial creditors appointed); In re PG&E Corp., No. 19-30088 (Bankr. N.D. Cal. 2019)
         [Docket Nos. 409, 453] (official committee of unsecured creditors and official committee of tort claimants
         (fire victims) appointed); In re TK Holdings, Inc., No. 17-11375 (Bankr. D. Del. 2017) [Docket Nos. 164,
         167] (official committee of unsecured trade creditors and unsecured tort claimant creditors appointed); In re
         Archdiocese of St. Paul & Minneapolis, No. 15-30125 (Bankr. D. Minn. 2015) [Docket Nos. 124, 220]
         (official committee unsecured creditors (tort claimants) and committee of Parish creditors appointed); In re
         Armstrong World Indus., Inc., 320 B.R. 523, 525 (D. Del. 2005) (official committee of unsecured creditors
         [Dkt. 90], official committee of asbestos personal injury claimants [Dkt. 91], and the official committee of
         asbestos property damage claimants [Dkt. 1075]); In re Dow Corning Corp., 280 F.3d 648, 654 (6th Cir.
         2002) (official committee of tort claimants, official committee of physician creditors, and official
         committee of unsecured creditors appointed); In re Nat’l Gypsum Co., 219 F.3d 478, 480 (5th Cir. 2000)
         (unsecured bond and trade claims committee and the asbestos claims committee appointed); In re Celotex
         Corp., 204 B.R. 586, 588–91 (Bankr. M.D. Fla. 1996) (trade creditors committee, asbestos health claimants
         committee, and asbestos property damage claimants committee appointed); In re A.H. Robins Co., 88 B.R.
         742, 744 (E.D. Va. 1988) (equity security holders' committee, official unsecured creditors' committee, and
         dalkon shield claimants' committee appointed). Talc II also cites Imerys as having two committees
         appointed, but that is incorrect. The docket entries cited by Talc II are the notice of appointment of a single
         official committee of tort claimants [Dkt. 132] representing ovarian cancer and mesothelioma claimants
         and a notice of amendment to the membership of the same committee [Dkt. 683].
 12
         See In re Garden Ridge Corp., No. 04–10324 (DDS), 2005 WL 523129, at *3-4 (Bankr. D. Del. Mar. 2,
         2005) (declining to appoint official committee for landlords where landlords already were represented on
         official committee of unsecured creditors and because official committee “is simply not intended to
         represent individual creditor interests”); Mirant Americas Energy Mktg., L.P. v. Off. Comm. of Unsecured
         Creditors of Enron Corp., No. 02 CIV. 6274 (GBD), 2003 WL 22327118, at *6 (S.D.N.Y. Oct. 10, 2003)
         (“The principal purpose of creditors’ committees is not to advocate any particular creditor class’s agenda,
         but rather to ‘strike a proper balance between the parties such that an effective and viable reorganization of
         the debtor may be accomplished.’”) (internal quotation marks omitted).


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 committee may only be justified if the existing committee is effectively paralyzed. 13 The TCC

 exhibited no paralysis in this case. The well-established principle that committees need not, and

 in fact should not, be homogenous is, indeed, the very policy espoused by the UST. See United

 States Trustee Program Policy and Practices Manual, Volume 3, at 56 (“The mere presence of a

 potential conflict of interest among creditors does not automatically require the appointment of

 separate committees.”).

 IV.     There Is No Justification for Empowering Mesothelioma Claimants with Their Own
         Committee.

                  13.      There is no reason to provide just 1% of the current claimants (and much

 less than 1% of all claimants when considering future claimants) with their own committee. As

 of the filing of this case, mesothelioma claimants comprised only 1% of the talc claims pending

 against the Debtor. Yet these claimants comprised 40 percent of the membership of the TCC (4

 of its 10 members), and, thus, were well represented (actually overrepresented). The Court

 should not amplify this over-representation further by permitting the UST to sua sponte provide

 mesothelioma claimants with their own committee.

                  14.      Talc II asserts that mesothelioma and ovarian cancer claimants have

 “unique” interests, Talc II Obj. at ¶¶ 46, 48, but fails to even attempt to articulate why those




 13
         See, e.g., In re Dana Corp., 344 B.R. 35, 38-39 (Bankr. S.D.N.Y. 2006) (“Creditor committees often
         contain creditors having a variety of viewpoints . . . however, these differing views do not require a
         separate homogenous committee unless they impair the ability to reach a consensus.”) (citing In re McLean
         Indus., Inc., 70 B.R. 852, 861 (Bankr. S.D.N.Y. 1987)); Garden Ridge, 2005 WL 523129, at *4 (“Courts
         generally will not authorize an additional committee . . . unless the current committee is ‘hopelessly
         divided, unable to take a position on important matters and ineffective….’”) (quoting In re Enron Corp.,
         279 B.R. 671, 686 (Bankr. S.D.N.Y. 2002)); In re Texaco, Inc., 79 B.R. 560, 567 (Bankr. S.D.N.Y. 1987)
         (“Dissident factions of the same class of creditors are not automatically entitled to separate committees.”);
         Sharon Steel, 100 B.R. at 777-78 (“It is universally recognized that intercreditor conflicts inhere in any
         committee” and “adequate representation exists through a single committee as long as the diverse interests
         of the various creditor groups are represented on and have participated in that committee.”).


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 interests are unique from each other, much less unique enough to warrant the substantial step of

 separate committees. 14

                  15.      As pointed out in the Motion, in both the Imerys and Cyprus cases

 pending in Delaware, 15 the UST appointed only a single talc claimants committee consisting of

 mesothelioma and ovarian cancer claimants. 16 In fact, the UST opposed the appointment of a

 second committee in one of those cases. 17

                  16.      Talc II argues that “every bankruptcy case is different.” Talc II Obj. ¶ 49.

 Imerys is not different with respect to committee formation. The claimants there substantially

 overlap the claimants in this case, as it was very rare for a plaintiff to sue Imerys, Old JJCI’s talc

 supplier, but not also sue J&J or Old JJCI. See Kim Decl. at 55; see also Imerys First Day Decl.

 ¶ 18.

 V.      An Additional Committee Will Make It More Difficult to Reach a Case Resolution.

                  17.      The Objectors fail to address that appointment of an additional committee

 would make it more difficult to reach a consensual resolution in this case. The addition of




 14
         Talc II states that these undisclosed differences will result in different approaches in certain aspects of the
         Chapter 11 Case. But, as discussed below, this is not a basis for creating a separate committee.
 15
         See In re Imerys Talc America, Inc., No. 19-10289 (LSS) (“Imerys”) (Bankr. D. Del. Feb. 13, 2019); In re
         Cyprus Mines Corporation, No. 21-10398 (LSS) (“Cyprus”) (Bankr. D. Del. Feb. 11, 2021).
 16
         This is true notwithstanding that mesothelioma claimants in Imerys, also the minority claimants in that
         case, accounted for 5.8% of the claims pending against the debtors in contrast to 1% here. See Decl. of
         Alexandra Picard, Chief Financial Officer of the Debtors in Support of Chapter 11 Petitions and First Day
         Pleadings, Imerys [Dkt. 10] (“Imerys First Day Decl.”) at ¶ 32. In Cyprus, the debtor estimated that over
         95% of the talc personal injury claims against it were mesothelioma claims rather than ovarian cancer
         claims. [Dkt. 7] at ¶ 39. Yet in Cyprus the UST appointed a single committee comprised of six
         mesothelioma claimants and one ovarian cancer claimant. See United States Trustee’s Objection to Motion
         of Kazan McClain Firm Personal Injury Plaintiffs for Modification of the Tort Claimants Committee or for
         Appointment of Tort Claimants Conflicts Committee (the “Cyprus UST Objection”), Cyprus Mines
         Corporation, No. 21-10398 (LSS) (Bankr. D. Del. Feb. 11, 2021) [Dkt. 189] at ¶ 10.
 17
         See Cyprus UST Obj. at ¶ 3 (stating in opposition that “[t]he U.S. Trustee appointed individuals who
         adequately represent the Cyprus personal injury claimants.”).



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 another party and another set of professionals would inevitably result in delay and would

 inevitably slow down the case. See Sharon Steel, 100 B.R. at 770-71 (the notion of appointing a

 separate committee for a category of unsecured creditors “met with general disfavor in view of

 the obvious complexities it would create, complicating negotiations of the [Debtor] . . . .”).

                  18.   Further, the alleged, unarticulated differences between mesothelioma

 claimants and ovarian cancer claimants that allegedly necessitate an additional committee would

 not disappear upon the appointment of that committee. Instead, separate committees would only

 create an additional obstacle to reaching consensus. And any differing interests that may exist

 could be addressed in other ways, including through the formation of subcommittees within the

 TCC. Already, claimants are predicting that the two committees will fight over matters that go

 to the heart of resolving this case. See Talc II. Obj. ¶ 46 (predicting divergent approaches to

 “plan, estimation, and/or claim reconciliation proceedings”); A&I Motion ¶ ¶ 28-31 (the

 additional committee “will foster division, not compromise” on plan classification and other

 plan-related matters). Those potential divergent interests should be addressed and resolved

 within the confines of a single committee.

                  19.   The appointment of two committees will only add complexity (in addition

 to cost, delay, and duplication of effort) to what already is a complex case. The same U.S.

 Trustee himself has recognized this: “A second committee . . . will also add to the complexity of

 this case.” See Cyprus UST Obj. at 10. The UST’s position in Cyprus should be adopted here.

 VI.     The Costs Resulting From an Additional Committee Would Be Astronomical.

                  20.   Both the UST and Talc II essentially argue that costs should be irrelevant

 to the Court’s consideration because the Debtor can obtain the funds to pay professional fees




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 from the Funding Agreement. UST Obj. ¶ 44; Talc II Obj. ¶ 51. 18 Given that the UST acts as a

 watchdog on professional costs, this position is especially surprising coming from him. 19 The

 fact that professional fees may be paid through the Funding Agreement or that professional fees

 may not impact claimant recoveries is not the point. See In re Texaco, Inc., 79 B.R. 560, 567

 (Bankr. S.D.N.Y. 1987) (although the debtor was an “admittedly solvent and prosperous oil

 giant,” the court emphasized that merging two committees of unsecured creditors would relieve

 the debtors’ estates of the “additional financial burden of supporting two separate groups of

 attorneys, accountants and investment bankers performing duplicative services for two

 committees of the same class of creditors” while maintaining adequate representation of

 creditors). The point is that the appointment of two committees will result in unnecessary and

 substantial duplication and expense.

                  21.      The Committees to date have shown an inability to restrain professional

 retentions and costs. The TCC itself took the unprecedented step of seeking retention of EIGHT

 law firms just to represent it, 20 without any true attempt to distinguish between the roles of most

 of the proposed advisors. Then, just prior to the Notice, the TCC sought to retain not only a


 18
         The Debtor’s access to funding under the Funding Agreement is only to the extent that any cash
         distributions received by the Debtor from its direct subsidiary Royalty A&M LLC are insufficient to pay
         the costs and expenses of the Chapter 11 Case. See First Day Decl. ¶ 27.
 19
         The UST suggests that “specific concerns about costs are better handled in the retention and fee application
         context.” UST Obj. at 3 & ¶ 46. But this is not realistic, especially given the number of professional firms
         already retained in this case. Using the fee application process to police duplication would itself be time
         consuming, inefficient, costly, and potentially unfair, both for the parties and for this Court, not to mention
         that it would be essentially impossible to do so. Based on the requests for compensation received to date,
         this would involve reviewing millions of dollars of professional fees from Committee professionals set
         forth in thousands of time entries in scores of fee applications over time. The only way effectively to rein
         in professional costs at this stage is to reduce duplication at the outset.
 20
         The TCC retained the following law firms: Brown Rudnick (general bankruptcy, bankruptcy litigation, and
         mass tort bankruptcy counsel) [Dkt. No. 853]; Bailey & Glasser LLP (litigation counsel) [Dkt. No. 865];
         Otterbourg P.C. (“special” bankruptcy counsel) [Dkt. No. 855]; Massey & Gail LLP (litigation counsel)
         [Dkt. No. 864]; Parkins Lee & Rubio LLP (“special” bankruptcy counsel) [Dkt. No. 856]; Genova Burns
         LLC (local counsel) [Dkt. No. 850]; Miller Thomson LLP (Canadian counsel) [Dkt. No. 1008]; Monzack
         Mersky and Browder, P.A (Delaware counsel) [Dkt. No. 1007].


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 financial advisor, but also an investment bank without clear purpose and against precedent in this

 type of mass tort case. 21

                  22.      In total, the Committees are up to ELEVEN separate law firms, for now,

 because Talc II has already proposed to retain three additional law firms to provide services that

 are duplicative of those provided by law firms already retained by the TCC. 22 The Talc II co-

 counsel applications clearly indicate that in addition to duplicating the services of existing Talc I

 counsel, each firm would provide overlapping services to Talc II. 23 The Committees have

 further advised the Debtor that they will seek to retain two separate financial advisors and two

 investment banks. See also Jan. 11, 2022 Hr’g Tr. at 101:16-17 (Talc II stating that sharing a

 financial advisor “is not really a workable solution from our perspective.”).

                  23.      And this is even before bringing in other professionals, which may include

 potential insurance counsel, tort claim estimation advisors (such as Bates White sought to be

 retained by the Debtor), a variety of experts, and potentially others. This is also before a major

 estate representative who has not yet appeared, a future claimants representative, is appointed

 and seeks retention of his or her own set of professional advisors.




 21
         See Application For Retention of Professional Houlihan Lokey Inc. as Investment Bank to Official
         Committee of Talc Claimants [Dkt. No. 953] at 4 (proposed services include “[a]nalyzing business plans
         and forecasts of the Debtor” and “Assessing the financial issues and options concerning the Debtor”);
         Application For Retention of Professional FTI Consulting, Inc. as Financial advisor to the Official
         Committee of Talc Claimants [Dkt. Nos. 954] at 3-4. (proposed services include “[a]ssessing and
         monitoring of the Debtor’s and its non-Debtor subsidiary’s short-term cash flow, liquidity, and operating
         results”).
 22
         See Dkt. 1079 (seeking to retain Sherman, Silverstein, Kohl, Rose & Podolsky, P.A. as local counsel to
         Talc II); Dkt. 1080 (seeking to retain Cooley LLP as co-counsel to Talc II); Dkt. 1091 (seeking to retain
         Waldrep Wall Babcock & Bailey PLLC as co-counsel to Talc II).
 23
         The Debtor provides a detailed comparison of the services of these professionals in its omnibus objection to
         their retention applications [Dkt. 1162]. See id. at ¶ 7 (comparing Cooley App. [Dkt. 1080] at 3; Waldrep
         App. [Dkt 1091] at 3-4; and Sherman App. [Dkt.1079] at 2).


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                  24.     The Debtor cannot but help to believe that the plaintiff law firms, through

 their support of the UST’s unilateral action, the many retention applications and other measures

 are engaging in an intentional strategy to run up exorbitant costs in this case to both take

 advantage of the “open checkbook” aspect of chapter 11 and discourage other companies from

 seeking similar relief through bankruptcy filings. The veritable armies of professional advisors

 proposed by the two committees would undoubtedly drive costs in this case well beyond reason,

 and make dramatically more difficult efforts to reach a prompt resolution of this case. 24




 24
         As of January 13, 2022, TCC professionals have requested distributions totaling almost $6,000,000 solely
         for the last two weeks of November and the month of December, and solely for the first six law firms that
         the TCC originally retained. That amount does not include the fees and expenses incurred by Otterbourg
         and Massey & Gail for the latter half of December. Nor does it include the additional costs that will be
         incurred going forward as a result of the either Talc I or Talc II’s retention of Monzack Mersky and
         Browder, P.A (Delaware counsel) and Miller Thomson LLP (Canadian counsel). The monthly totals also
         do not reflect the additional cost going forward of Talc II’s proposed financial advisor (FTI), the
         extraordinary fees of Talc I’s proposed investment bank (Holihan), the additional investment bank and
         financial advisor the Committees are seeking to retain, or the three additional firms Committee II has
         proposed to retain as its co-counsel.


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                                           CONCLUSION

                  For the foregoing reasons, the Court should enter an order, substantially in the

 form attached to the Motion as Exhibit B, granting the relief requested in the Motion and provide

 the Debtor such other and further relief as the Court deems just and proper.

  Dated: January 17, 2022                            WOLLMUTH MAHER & DEUTSCH LLP

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